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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

THE CARLSON GROUP, INC., an                 )
Oregon corporation,                         )
                                            )
                        Plaintiff,          )
                                            )     Case No.
       v.                                   )
                                            )
SCOTT DAVENPORT, BRAD KURZ,                 )
REDSTITCH LLC, an Illinois limited          )
liability company, CHARLES                  )
O’DONNELL, ROBERT SOLOMON                   )
and UNITED WIRE CRAFT, INC., an             )
Illinois corporation doing business as      )
United Display Craft,                       )
                                            )
                        Defendants.         )


                   COMPLAINT, PRELIMINARY AND
            PERMANENT INJUNCTIVE RELIEF AND FOR DAMAGES

       Plaintiff, The CARLSON GROUP, INC., (“TCG ”), by its attorneys, for its

Complaint against defendants, SCOTT DAVENPORT (“Davenport”), BRAD KURZ

(“Kurz”), REDSTITCH LLC (“RedStitch”), CHARLES O’DONNELL (“O’Donnell”),

ROBERT SOLOMON (“Solomon”) and UNITED WIRE CRAFT, INC., (“United”),

states as follows:

                               NATURE OF THE ACTION

       1.      In this action, TCG seeks preliminary and permanent injunctive relief

and/or monetary damages against the Defendants for misappropriation of trade secrets in

violation of Illinois’ Uniform Trade Secrets Act, 765 ILCS 1065/1, et seq., and the

Defend Trade Secret Act of 2016, 18 U.S.C. § 1831, et seq., for violations of the Stored

Communications Act, 18 U.S.C. §2701, et seq., for breaches of fiduciary duties and/or
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inducing those breaches, for breach of reasonable contractual restrictions on the

Defendants’ solicitation of TCG’s customers and employees, for acts of tortious

interference with those contracts, and for civil conspiracy,

                                      THE PARTIES

       2.      TCG is a corporation organized and existing under the laws of the state of

Oregon, with its principle place of business in Lombard, Illinois.

       3.      Defendant Davenport is an individual domiciled in the state of State of

Illinois who, on information and belief, works and/or resides in DuPage County, Illinois.

       4.      Defendant Kurz is an individual domiciled in the state of State of Illinois

who, on information and belief, works and/or resides in DuPage County, Illinois.

       5.      Defendant RedStitch is an Illinois limited liability company organized and

existing under the laws of the state of Illinois. On information and belief, RedStitch’s

principal place of business is located in DuPage County, Illinois. Davenport and Kurz

are Members (if not the sole Members) and Managers of RedStitch.

       6.      Defendant O’Donnell is an individual domiciled in the state of Illinois

who, on information and belief, works and/or resides in Cook County, Illinois.

       7.      Defendant Solomon is an individual domiciled in the state of Illinois who,

on information and belief, works and/or resides in Cook County, Illinois.

      8.       Defendant United is a corporation organized and existing under the laws

of the state of Illinois, with its principal place of business in Des Plaines, Illinois. United

conducts business under the name “United Displaycraft.”




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                             JURISDICTION AND VENUE

      9.        This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §§ 1331 and 1338, predicated upon both the Defend Trade Secrets Act of 2016, 18

U.S.C. § 1831, et seq., and the Stored Communications Act, 18 U.S.C. § 2701, et seq.

The Court has pendant jurisdiction pursuant to 28 U.S.C. § 1367 as to the remaining

claims.

          10.   Venue is appropriate in this district pursuant to 28 U.S.C. §1391(b) in that

a substantial part of the events and omissions giving rise to the claim occurred within this

judicial district, Defendants have substantial contacts with this district, Defendants have

caused damage in this district, and, as set forth in greater detail below, the Defendants

stipulated to the exclusive jurisdiction of any court of competent jurisdiction in the state

of Florida for the resolution of any dispute between them.

                    ALLEGATIONS COMMON TO ALL COUNTS

          TCG’s Business and its Competitive Advantages

          11.   TCG is engaged in the business of designing, engineering, manufacturing,

installing, and managing logistics of retail merchandising and point-of-purchase (POP)

displays and fixtures.

          12.    Over the course of many years TCG has developed and maintained

confidential and proprietary processes, data, and other know-how incident to its business

that it considers trade secrets, which allows TCG to deliver and sustain the optimal retail

experience, faster and on a more cost effective basis than its competitors.




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       13.     As a result, TCG has, in particular, distinguished itself as a worldwide

leader in the retail merchandising of sporting goods, apparel, footwear and other active

lifestyle merchandise.

       14.     TCG has expended significant time, resources and energy in the

development of its trade secrets from which it derives substantial competitive advantages.

       15.     TCG safeguards its trade secrets, restricting access thereto, and requiring

those who have access to execute agreements with strict confidentiality provisions

therein.

       TCG’s Employment Agreements with the individual Defendants

       16.     Davenport, Kurz, O’Donnell, and Solomon (the “Individual Defendants”)

are former employees of TCG.

       17.     Davenport was hired by TCG as an Account Director on or about

November 18, 2008.

       18.     After extensive lobbying for a sales management role, on or about January

1, 2015, Davenport was promoted by TCG to the key position of Director of Sales,

becoming a member of the Senior Management Team. Davenport remained in this role

until he resigned in January 2016 (together with Kurz) to form RedStitch.

       19.     As TCG’s Director of Sales, Davenport was solely responsible for

management and oversight of TCG’s sales teams and marketing efforts.

       20.     In connection with his promotion to the position of Director of Sales,

Davenport obtained complete access to all of TCG’s client, prospect and target files, all

of TCG’s client contracts, all of TCG’s client/prospect presentation materials, and all

TCG marketing plans and strategies.



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         21.   Moreover, as a member of TCG’s Senior Management Team, Davenport

obtained critical business information made available only to members of TCG’s Senior

Management Team, including detailed information about TCG’s financial performance,

competitive position in the industry, pricing models, TCG’s strategic plans relating to

marketing, sales, production and human resources, and TCG’s employee compensation

and incentive plans.

         22.   Kurz was hired by TCG as staff designer on or about April 23, 2007.

         23.   Kurz was promoted by TCG to the key position of Creative Director on

September 1, 2011, in which role he served until he resigned in January 2016 (together

with Davenport) to form RedStitch.

         24.   As TCG’s Creative Director, Kurz was responsible for the management

and oversight of the design department and function, and interfaced with the sales team

on all client matters that involved design work and on new business development efforts.

         25.   In connection with his promotion to Creative Director, Kurz obtained

complete access to all of TCG’s client, prospect and target files, all of its client contracts,

and all of its client/prospect presentation materials.

         26.   Moreover, like Davenport, Kurz also obtained critical business

information made available only to members of TCG’s Senior Management Team,

including detailed information about TCG’s financial performance, competitive position

in the industry, pricing models, TCG’s strategic plans relating to marketing, sales,

production and human resources, and TCG’s employee compensation and incentive

plans.




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         27.   O’Donnell was hired by TCG as a Project Manager April 24, 2012, and

promoted to the position of Senior Account Manager on or about November 24, 2013 at

the urging of Davenport. O’Donnell reported to Davenport while he was Director of

Sales.

         28.   O’Donnell was terminated on October 27, 2016 based upon documented

poor performance, failure to comply with TCG rules and procedures, and failure to

follow proscribed job duties.

         29.   Solomon was hired by TCG as a Program Coordinator on or about

November 15, 2010, and at the urging of Davenport, was promoted into the position of

Account Manager on or about April 6, 2015.

         30.   At or around the time that Davenport began planning his departure from

TCG, he promoted Solomon to the TCG sales team. Accordingly, Solomon reported

directly to Davenport until the time that Davenport resigned.

         31.   Solomon resigned his position with TCG July 13, 2016.

         32.   Each of the Individual Defendants executed one or more written

employment agreements with TCG.

         33.   Davenport executed his original Employment Agreement on or about

November 7, 2008, then executed a new Agreement on or about December 10, 2014 in

connection with his promotion, receiving a material increase in compensation in

connection therewith. A copy of the December 2014 Agreement, which superseded the

earlier Agreement, is submitted herewith as Exhibit A.

         34.   Kurz executed his original Employment Agreement on or about April 23,

2007, then executed a new Agreement on or about September 1, 2011 in connection with



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his promotion, receiving a material increase in compensation in connection therewith. A

copy of the September Agreement, which superseded the earlier Agreement, is submitted

herewith as Exhibit B.

       35.    O’Donnell executed his original Employment Agreement on or about

April 24, 2012, then executed a new Agreement on or about November 4, 2013 in

connection with his promotion, receiving a material increase in compensation in

connection therewith. A copy of the November 2013 Agreement, which superseded the

earlier Agreement, is submitted herewith as Exhibit C.

       36.    Solomon executed his original Employment Agreement in or about

November 2010, then executed a new Agreement on or about April 6, 2015 in connection

with his promotion, receiving a material increase in compensation in connection

therewith. A copy of the Agreement is submitted herewith as Exhibit D.

       37.     Among other things, the Employment Agreements submitted herewith

required each of the Individual Defendants to devote their full-time attention and energy

to TCG’s business.

       38.    The Employment Agreements also required that during the course of their

employment, each of the Individual Defendants would refrain from engaging in any

business activity or making any investment in a venture in competition or conflict with

TCG, or investing in any venture that could reasonably lead to a conflict of interest

relative to TCG.

       39.    Similarly, in each of the Employment Agreements, each of the Individual

Defendants: (a) acknowledged that they would be gaining access to “Trade Secrets” and

“Confidential Information” (as those terms are defined therein); (b) agreed to safeguard



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and maintain the same in strict confidence; (c) agreed to use the Trade Secrets and

Confidential Information solely in performing their duties for TCG; and (d) agreed never

to disclose to or permit a third party to use TCG’s Trade Secrets and Confidential

Information.

       40.     Moreover, each of the Employment Agreements required that for a period

of two years following their termination, each of the Individual Defendants would refrain

from: (a) directly or indirectly soliciting, accepting business from, performing services

for and/or transacting business with any TCG client, (b) using any TCG trade contacts;

(c) directly or indirectly soliciting any TCG employee for themselves or any competitive

company; and (d) directly or indirectly diverting or attempting to divert any business or

potential business from TCG.

       41.     To that end, the Employment Agreements required each of the Individual

Defendants to notify TCG of any subsequent employment during the two year restriction

period (within five days of accepting employment), and also required the Individual

Defendants to provide their new employer with a copy of their respective TCG

employment agreements before commencing work for their new employer.

       42.     Finally, each of the Employment Agreements contemplated that except for

matters of injunctive relief, disputes arising out of or relating to the Agreement or an

Individual Defendant’s employment with TCG would be submitted to arbitration.

       United’s Unsolicited Interest in TCG

       43.     In late 2014, United contacted TCG’s Chief Operating Officer to express

United’s interest in a possible acquisition of TCG.




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       44.        Like TCG, United is engaged in the business of designing and

manufacturing of POP displays, display racks, and other store fixtures.

       45.        United, however, has limited presence or penetration in TCG’s niche

segment of sporting goods, apparel, footwear and active lifestyle merchandising and

expressed interested in acquiring TCG in order to gain a position in that segment, which

would otherwise require United to invest heavily in staff and marketing over a prolonged

period of time.

       46.        To facilitate preliminary discussions, TCG and United entered into a

Mutual Confidentiality Agreement dated December 20, 2014.

       47.        Over the course of the next few months, United requested and received

certain general information about TCG’s business that was understood by both parties to

be confidential. TCG refused at the initial exploratory stages to provide any detailed

information regarding its customers, and/or its employees due to the preliminary nature

of the discussions.

       48.        TCG ended its discussions with United in late April, 2015, after receiving

a delayed letter of intent from United that was unacceptable. In fact, the nature of the

offer called into question whether United had approached its discussions with TCG in

good faith.

      The Defendants’ Scheme To Misappropriate TCG Trade Secrets

       49.        Beginning on or about June 1, 2015 (the precise date being unknown to

TCG), while they were employed by and part of the Senior Management Team of TCG,

Davenport and Kurz began conspiring to start a new firm that would compete with TCG.




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       50.     On information and belief, part of the planning by Davenport and Kurz

included the misappropriation of TCG’s trade secrets and proprietary information.

       51.     Despite their contractual obligations to avoid even the appearance of a

conflict of interest, Davenport and Kurz concealed their plans from TCG’s senior

management for the last seven months of their employment.

       52.     As a result, Davenport and Kurz continued to receive sensitive and

valuable confidential information about TCG while they were planning to compete with

TCG.

       53.     Moreover, whether by design in anticipation of competing with TCG or

the result of neglect of his duties to TCG, Davenport wholly failed to fulfill his duties as

Director of Sales during the several months he prepared and planned to launch his

competitive venture.

       54.     Indeed, just before announcing his departure, and while he was planning

his new competitive startup company, Davenport formally projected (for TCG’s Business

Plan) that TCG’s sales to the customers for which he was personally responsible (not

including the rest of his team) would exceed $5,000,000 for 2016 (consistent with the

results for 2015).

       55.     In fact, as a result of Davenport’s neglect of the sales dramatically pipeline

or his purposeful diversion of the expected business, the actual sales to those customers

lagged substantially, and will barely eclipse $1,000,000 for the year.

       56.     Moreover, despite his fiduciary duties to TCG and the express provisions

of his Employment Agreement, Davenport began soliciting TCG employees to join him

in his new venture even before he ended his employment with TCG.



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       57.     An investigation by TCG has revealed that Davenport exchanged

hundreds of text communications with Megan B., a member of TCG design staff,

between June, 2015 and (when he decided to launch his competitive venture) and January

29, 2016, when he left TCG’s employ. Most of the after business hours and on weekends

so as to avoid detection.

       58.     Davenport and Kurz finally announced their decision to leave TCG on

January 4, 2016 to TCG’s COO and Director of HR.

       59.     At the time, Davenport and Kurz advised TCG’s senior management that

they were starting a design firm called “RedStitch” and when directly questioned claimed

that they would not be offering any services in competition with TCG and that no one

else at TCG knew of their plans.

       60.     Before they departed, Davenport and Kurz were expressly reminded of

and acknowledged their contractual obligations to refrain from soliciting or servicing any

TCG client and/or employees.

       61.     Nevertheless, without regard to the restrictions in their Employment

Agreements, after he gave notice but before leaving TCG’s employ, Davenport solicited a

TCG Account Manager, Ryan H., stating, in words or substance, “when I get our feet on

the ground, I will be calling you.”

       62.     After forming RedStitch, and without regard to the restrictions in their

Employment Agreements, Davenport has continued his solicitation of Ryan H., texting

him that “you need to get out of there.”




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       63.       On information and belief, prior to or shortly after leaving TCG,

Davenport and Kurz also contacted United to begin discussions about directly or

indirectly joining forces to directly compete with TCG.

       64.       At some point, and without regards to the terms of their respective

Employment Agreements, TCG believes that Davenport and Kurz began soliciting

O’Donnell and Solomon about leaving TCG to join them in their competitive venture at

an appropriate time.

       65.       Moreover, and without regards to the terms of their respective

Employment Agreements, TCG has determined that either prior to or shortly after leaving

TCG, Davenport and/or Kurz began soliciting multiple TCG customers on behalf of

RedStitch and/or United.

       66.       On numerous occasions in 2016 (shortly after Davenport and Kurz had

left), TCG’s COO asked O’Donnell and Solomon if either had seen RedStitch at any

industry event, or received any indication that Davenport, Kurz were soliciting TCG’s

customers in violation of their Employment Agreements.

       67.       In response, O’Donnell and Solomon consistently responded that they had

neither encountered RedStitch at any industry event, nor received any indication that

Davenport or Kurz was soliciting TCG’s customers.

       68.       In fact, O’Donnell and/or Solomon met with RedStitch at numerous

industry events, and had actual knowledge of such improper solicitation by Davenport

and RedStitch.

       69.       Indeed, there exists a photograph recovered from O’Donnell’s company

issued mobile phone that had been taken of Davenport posing with one of TCG’s major



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clients (for which O’Donnell and Solomon were each responsible) at Global Shop, an

industry event held in late March 2016 in Las Vegas Nevada. O’Donnell attended Global

Shop while he was employed by and at the expense of TCG.

       70.     At the same time that O’Donnell was actively and improperly concealing

this critical information from TCG, he was negotiating with RedStitch and United about

joining their team and establishing a firm competitive to TCG.

       71.     In an April 26, 2016 email (recovered from O’Donnell’s company issued

mobile phone) to United’s Chief Executive, O’Donnell noted that RedStitch’s and

United’s respective operations “will dovetail well together.”

       72.     United provided RedStitch with critical production and logistics

capability, while RedStitch offered United immediate access to TCG’s trade secrets and

customer relationships to accelerate its market penetration.

       73.     In the same email, O’Donnell further commented that he was ready to

make the move to RedStitch, but agreed that United’s idea of having him undergo

“onboarding at [United]” would better his understanding of United’s procedure “and

prepare to help meld the organizations.”

       74.     And in a series of May 2016 emails between Davenport and O’Donnell,

the two discussed the significant to RedStitch of having “United’s backing,” the critical

need to “build a platform to align United and RedStitch,” and setting forth an

organization structure based upon principles “learned from TCG.”

       75.     While O’Donnell methodically planned his departure from TCG, he failed

to fulfill his duties to TCG.




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       76.    Indeed, O’Donnell’s assigned clients were projected to generate

approximately $2,300,000 in revenue during 2016 (consistent with 2015 results), but will

fall woefully short and will likely only produce $730,000 in revenue by year-end.

       77.    Similarly, the 2016 revenue projected for Solomon’s clients also

suspiciously plunged. Instead of the more than $2,436,000 that was projected (based on

2015 actual results), Solomon’s clients will only produce $725,000 in revenue by year-

end.

       78.    On information and belief, the dramatically poor sales performance for

2016 was the direct and proximate result of either neglect of the sales pipeline by

Davenport, Solomon, and O’Donnell, or more likely, the purposeful misdirection of sales

in anticipation of leaving and competing with TCG.

       79.    Indeed, emails recovered from O’Donnell’s company issued phone

indicate that O’Donnell began communicating with his major client using a “Gmail”

account months prior to his termination. That client has since diverted some of its TCG

business to RedStitch and/or United.

       80.      On information and belief, O’Donnell and Solomon have since joined

RedStitch and/or United, but neither advised TCG of the same as required by their

respective Employment Agreements.

       81.    On August 31, 2016, TCG, through its lawyers demanded in writing that

Davenport, and Kurz cease violating the non-solicitation provisions in their Employment

Agreements.

       82.    TLC has learned, however, that without regard to this demand or regard

for the provisions of their respective Employment Agreements, Davenport and Kurz have



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continued to solicit and service TCG clients, either directly through RedStitch or

indirectly through United.

        83.     TLC has also learned that without regard to the provisions of his

Employment Agreement, Davenport continues to directly or indirectly interfere with

TCG’s employee relationships, contacting TCG sales staff via text messages (sent to their

Company owned phones) encouraging them to leave TCG.

        84.     In one specific instance, Davenport recently texted Ryan H. again,

soliciting him with a message: “Why haven’t you quit that shit box yet?”

        85.     As a result of the aforementioned conduct by the Defendants, TCG has

been injured, already having lost a substantial amount of business.

                                        COUNT I

                    (Injunctive Relief for Violation of the Uniform
              Trade Secrets Act, 765 ILCS 1065/1 et seq., and the Defend
                 Trade Secret Act of 2016, 18 U.S.C. § 1831, et seq.)

       86.      TCG re-alleges and incorporates Paragraphs 1 through 84 as though fully

set forth herein.

       87.      TCG sells goods and procures materials using and for use in interstate

commerce.

       88.      As set forth above, during their employment, the Individual Defendants

became privy to and acquired information regarding TCG which is otherwise highly

confidential and proprietary.

       89.      During their employment, some or all the Individual Defendants became

privy to and acquired information regarding TCG’s proprietary methods, processes and

procedures, including its methods and tools for budgeting and annual planning,



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estimating templates, pricing models and strategies, its Scope of Work ordering system,

domestic and off-shore supply chain partners, its CRM system, its prospecting and sales

strategies and techniques, its client programs and its sales and distribution history and

projections.

      90.      TCG derives substantial independent economic value from the referenced

information, processes and procedures not being generally known to the public.

      91.      TCG takes extensive and deliberate reasonable steps designed to maintain

the secrecy of its information, processes and procedures, including but not limited to

restricting the access thereto and, and having employees sign employment agreements

with confidentiality and non-disclosure provisions. All TCG employees are formally

reminded on a quarterly basis that TCG’s business information is to be kept confidential.

      92.      Without regard to the provisions of the Employment Agreements

submitted, herewith, the Individual Defendants have used or disclosed TCG’s

information, processes and procedures to one or more third parties, including RedStitch

and United, to further their own interests at the expense of TCG.

      93.      Even if they have not already purposefully TCG’s disclosed Trade Secrets,

as part of TCG’s Senior Management Team, Davenport and Kurz became privy to Trade

Secrets that they will inevitably use on behalf of RedStitch and/or inevitably disclose to

United if they are permitted to continue their union and collaboration.

      94.      The use or disclosure described herein by the Defendants constitutes a

misappropriation of trade secrets in violation of the Illinois Trade Secrets Act and the

Defend Trade Secrets Act of 2016.




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       95.      TCG has a performed valid and protectable interest in protecting its Trade

Secrets and confidential information.

       96.      The misappropriation of trade secrets by the Defendants described above

has caused, and will continue to cause irreparable damage and harm to TCG and its

business.

       97.      TCG has no adequate remedy at law for the misappropriation of Trade

Secrets described above.

       98.      The public interest would be well served by preliminarily and permanently

enjoining the Defendants’ use of TCG’s trade secrets.

       WHEREFORE, TCG respectfully requests the entry of an order preliminarily and

permanently enjoining Defendants and their respective affiliates, assignees, members,

shareholders, directors, officers, managers, employees, agents and/or representatives

from using or disclosing TCG’s trade secrets, awarding TCG its costs and attorneys’ fees,

and granting such other relief as this Court may deem just and appropriate.

                                        COUNT II

                    (Damages for Violation of the Uniform Trade Secrets
                       Act, and the Defend Trade Secret Act of 2016)

       99.      TCG re-alleges and incorporates Paragraphs 1 through 98 as though fully

set forth herein.

       100.     As a direct and proximate result of Defendants’ misappropriation of trade

secrets as described above, TCG has been injured.




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       101.     The Defendants have acted willfully and maliciously in disclosing and/or

using TCG’s trade secrets, and as such should be liable for exemplary damages and

attorneys’ fees.

       WHEREFORE, TCG respectfully requests the entry of an order of judgment in its

favor and against all Defendants, jointly and severally, for the full extent of its damages

in an amount to be proven at trial, an award of punitive damages against all Defendants to

dissuade and deter such conduct in the future, an award of attorneys’ fees as provided by

the referenced Acts, plus such other relief as this Court may deem just and appropriate.

                                       COUNT III

               (Preliminary and Permanent Injunctive Relief to Enforce
              Non-Solicitation Provisions of the Employment Agreements)

       102.     TCG re-alleges and incorporates Paragraphs 1 through 101, as though

fully set forth herein.

       103.     The Employment Agreements submitted herewith constitute binding and

enforceable contracts between the Individual Defendants and TCG.

       104.     The prohibitions on solicitation of customers and employees set forth in

the Agreements are reasonable in both time and scope.

       105.     TCG performed its obligations under the Employment Agreements.

       106.     The Individual Defendants have breached the Employment Agreements in

the manner described herein.

       107.     TCG has a performed valid and protectable interest in enforcing the

confidentiality and non-solicitation provisions of the Agreements.




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       108.     The breach of the Employment Agreements by the Individual Defendants

described above has caused, and will continue to cause irreparable damage and harm to

TCG and its business.

       109.     TCG has no adequate remedy at law for the breach of the non-solicitation

provisions of the Agreements by the Individual Defendants.

       110.     The public interest would be well served by preliminarily and permanently

enjoining the Defendants’ breaches of their respective Employment Agreements.

       WHEREFORE, TCG respectfully requests the entry of an order preliminarily and

permanently enjoining the Individual Defendants and their respective affiliates,

assignees, members, shareholders, directors, officers, managers, employees, agents

and/or representatives from violating the non-solicitation provisions of the Employment

Agreements, awarding TCG its costs, and granting such other relief as this Court may

deem just and appropriate.

                                       COUNT IV

                    (Damages for Breach of the Employment Agreements)

       111.     TCG re-alleges and incorporates Paragraphs 1 through 110 as though fully

set forth herein.

       112.     As a direct and proximate result of the Individual Defendants’ breach of

the Employment Agreements described above, TCG has been injured.

       WHEREFORE, TCG respectfully requests the entry of an order of judgment in its

favor and against all Defendants, for the full extent of its damages in an amount to be

proven at trial, plus such other relief as this Court may deem just and appropriate.




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                                         COUNT V

                          (Tortious Interference with Contract)

       113.     TCG re-alleges and incorporates Paragraphs 1 through 112, as though

fully set forth herein.

       114.     TCG had valid and enforceable Employment Agreements with the

Individual Defendants.

       115.     Davenport, Kurz, RedStitch, and United were at all times aware of the

existence of the Agreements, as well as the provisions therein relating to the

confidentiality and non-disclosure of information and precluding the post-termination

solicitation of employees and clients.

       116.     Davenport, Kurz, RedStitch, and United induced the Individual

Defendants to breach their Employment Agreements in the manner described herein.

       117.     As a direct and proximate result of this conduct by these Defendants, TCG

has been damaged.

       118.     These Defendants acted willfully and maliciously in interfering with the

referenced contractual obligations.

       WHEREFORE, TCG respectfully requests the entry of an order of judgment in its

favor and against Davenport, Kurz, RedStitch, and United, jointly and severally, for the

full extent of its damages in an amount to be proven at trial, an award of punitive

damages against these Defendants to dissuade and deter such conduct in the future, and

granting such other relief as this Court may deem just and appropriate.




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                                        COUNT VI

                       (Damages for Breach of Fiduciary Duties)

      119.     TCG incorporates the allegations contained in paragraphs 1 through 111 as

though set forth herein.

      120.     As employees of TCG, each of the Individual Defendants owed TCG

fiduciary duties of loyalty and care.

      121.     The Individual Defendants breached those fiduciary duties to TCG in the

manner described above.

      122.     As a direct and proximate result of this conduct by the Individual

Defendants, TCG has been damaged.

      123.     The Individual Defendants acted willfully and maliciously in breaching

their fiduciary duties to TCG.

      WHEREFORE, TCG respectfully requests the entry of an order of judgment in its

favor and against each of the Individual Defendants, jointly and severally, for the full

extent of its damages in an amount to be proven at trial, ordering the disgorgement of any

and wages, commissions and bonus received by these Defendants during their period of

disloyalty, awarding punitive damages against these Defendants to dissuade and deter

such conduct in the future, and granting such other relief as this Court may deem just and

appropriate.

                                        COUNT VI

          (Damages for Aiding and Abetting Breaches of Fiduciary Duties)

      124.     TCG incorporates the allegations contained in paragraphs 1 through 123 as

though set forth herein.



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       125.    On information and belief, RedStitch and United participated, actively

encouraged and substantially assisted conduct that they knew was a breach of the

Individual Defendants’ fiduciary duties of loyalty and care to TCG.

      WHEREFORE, TCG respectfully requests the entry of an order of judgment in its

favor and against Red Stitch and United, for the full extent of its damages in an amount to

be proven at trial, ordering the disgorgement of any ill-gotten gains, including profits on

sales to TCG customers, awarding punitive damages against these Defendants to dissuade

and deter such conduct in the future, and granting such other relief as this Court may

deem just and appropriate.

                                      COUNT VII

                                   (Civil Conspiracy)

      126.     TCG incorporates the allegations contained in paragraphs 1 through 125 as

though set forth herein.

      127.     As set forth above, each of the Defendants knowingly and purposefully

acted in concert as part of a wrongful scheme to enrich themselves at the expense of TCG

in the manner described above.

      128.     As a direct and proximate result of their conspiracy, TCG has been

injured.

      WHEREFORE, TCG respectfully requests the entry of an order of judgment in its

favor and against each of the Defendants, jointly and severally, for the full extent of its

damages in an amount to be proven at trial, and granting such other relief as this Court

may deem just and appropriate.




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                                     COUNT VIII

                    (Versus O’Donnell for Violation of the Stored
                    Communications Act, 18 U.S.C. §2701, et seq.,)

      129.     TCG incorporates the allegations contained in paragraphs 1 through 128 as

though set forth herein.

      130.     During the course of his employment with TCG, O’Donnell had use of a

company-owned mobile smartphone.

      131.     A    mobile   smartphone    is   a   facility   through   which   electronic

communication service is provided, as that term is used in the Stored Communications

Act, 18 U.S.C. § 2701(a)(hereinafter, the “Act”).

      132.     Pursuant to the terms of the Employee Handbook, O’Donnell

acknowledged that the mobile smartphone he was using remained the exclusive property

of TCG, and that all material created, viewed, transmitted or stored on the device was the

property of TCG.

      133.     Upon the termination of his employment, O’Donnell was required to

surrender (and did surrender) his phone to TCG.

      134.     Without regard to the referenced policy, approximately four hours after his

termination, and without any authority to do so, O’Donnell intentionally used some

means or artifice to remotely access the smartphone (while it was in TCG’s possession)

and “wipe” it clean, thereby erasing all of the data and electronically stored

communications thereon.

      135.     The aforementioned conduct constitutes a violation of the Act.




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      136.     As a result of the aforementioned conduct, TCG has been injured in

amount of at least $1000, which is the statutory minimum that must be awarded in a civil

action for a violation of the Act pursuant to 18 U.S.C. § 2707(b) and (c).

      137.     O’Donnell’s actions were willful and intentional, for which the Court

should award punitive damages as authorized by 18 U.S.C. § 2707(c).

       WHEREFORE, TCG respectfully requests the entry of an order of judgment in its

favor and against O’Donnell for the greater of $1000 or the full extent of its damages

proven at trial, awarding punitive damages and attorneys’ fees and other litigation costs

reasonably incurred pursuant to 18 U.S.C. § 2707(b)(3), and granting such other relief as

this Court may deem just and appropriate.

                                               Respectfully submitted,

                                               THE CARLSON GROUP, INC.
                                            By: /s/ George J. Spathis
                                                 One of its Attorneys



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